                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION

UNITED STATES OF AMERICA                             )
                                                     )
v.                                                   )      NO. 3:12-00076
                                                     )      JUDGE CAMPBELL
JASON POWELL                                         )

                                             ORDER

         Pending before the Court is Jason Powell’s Motion to Hold in Abeyance Motion to Suppress

Search of Vehicle and to Stay Evidentiary Hearing (Docket No. 213). The Motion is DENIED given

the imminent trial date.

         It is so ORDERED.



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                                                     TODD J. CAMPBELL
                                                     UNITED STATES DISTRICT JUDGE




     Case 3:12-cr-00076      Document 214       Filed 09/25/13     Page 1 of 1 PageID #: 730
